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29, 2019

 

Honorable Vernon S. Broderick
United States District Judge
United States Courthouse

40 Foley Square NY, NY 10601

Weiss v. City University of New York, et al.
Docket No: 17 Civ. 3557 (VSB);
Re: Preliminary relief

Dear Judge Broderick,

Tam writing to respectfully request permission to attend the MSW graduate program at
Hunter College Silberman School of Social Work as a full time student with a full tuition
waiver/scholarship, living stipend and medical/dental insurance as part of preliminary relief

while the case advances to the discovery phase.

As already noted previously, defendants have engaged in public corruption, fraud, and
other federal, state, city, and CUNY violations. The New York Attorney General recehtly stated
that “My office will continue to root out public corruption, uphold the integrity of public office,
and bring bad actors to justice at every level of government throughout New York” and that “no
one is above the law”. However, she continues to represent the defendants who are
state/government employees working at CUNY despite the fact that they have violated state, city,
federal, and CUNY laws/policies. It is therefore a conflict of interest for the attorney general to
represent a state employee who has violated CUNY, state, city and federal laws as it cd ntradicts

the mission of the NYAG,

 
 

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The NYAG, who has already reiterated that defendants have violated the laws, is not

adhering to her own policy of holding public employees accountable for their actions

 
 

continues to defend the defendants despite their illegal activity while penalizing plainti if who has

not violated any laws.
Unfortunately, there have been multiple suicides within the Jewish community lecently

and plaintiff has the knowledge and understanding of what it is like to struggle and would like to

get the degree and license required in the field to help people. The Fall semester starts i the end

of August and plaintiff is respectfully asking to be given the opportunity to get her soci 1 work

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Masters degree to potentially save a life. Any consideration towards this would be gre

appreciated.

Respectfully submitted,

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Faigy Rachel Weiss,

Pro Se Plaintiff

 
